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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 SONY INTERACTIVE
 ENTERTAINMENT LLC,

         Plaintiff,
                                       Civil Action No. 1:25-cv-2219-
 v.                                    SDG

 AFUY16CESZRVV, et al.,

         Defendants.


                        NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Sony Interactive

Entertainment LLC hereby voluntarily dismisses this action against the following

Defendants without prejudice, with each party to bear its own attorneys’ fees and

costs:

           1. Homewelle

           2. LANJIEJUN

           3. LNQWER

           4. Fiesta Party World

           5. CQM01

           6. Gubrandin

           7. brilliant wall art

           8. Cabin Home Customization
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         9. DXOAGXQ

         10. Fei zhang

         11. SUIHONG

         12. Xiangchengshizhanweishangmaoyouxiangongsi

         13. ZYX77

Dated this 29th day of May 2025.           Respectfully submitted,

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